                     IN THE UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF ALABAMA

 IN RE:                                        )
                                               )
 SIMPLICITY CATERERS, LLC                      )              CASE NO.: 19-82798-CRJ11
                                               )              CHAPTER 11
        Debtor.                                )
                                               )


    ORDER PROHIBITING DISBURSEMENTS AND DIRECTING SUBCHAPTER V
     TRUSTEE TO INVESTIGATE THE FINANCIAL CONDITION OF DEBTOR

        This matter came before the Court on May 27, 2020 on, inter alia, the Debtor’s Motion for

 Entry of Order Dismissing Chapter 11 Case. Present at the hearing were Tazewell T. Shepard IV

 as Debtor’s counsel, Richard Blythe representing the Bankruptcy Administrator, Richard O’Neal

 representing the United States of America – Internal Revenue Service, and Kevin D. Heard as

 Subchapter V Trustee (“Trustee”).

        During the hearing, discussion was had regarding the financial condition of the Debtor, the

 Debtor’s accounts receivables, and potential administrative expense claims.          Based on the

 representations of counsel, it is hereby

        ORDERED, ADJUDGED and DECREED as follows:

        1. The Debtor is directed to file with the Court an income statement showing the receipt of

 all monies received from April 1, 2020 to June 1, 2020, as well as all disbursements made by the

 Debtor from April 1, 2020 to June 1, 2020. The Debtor is further directed not to pay out or disburse

 any monies from the date of this Order. All funds received by the Debtor shall be deposited into

 the Debtor-in-Possession account.

        2. The Court further finds that good cause exists and it is hereby ORDERED that the

 Subchapter V Trustee is granted the power under §§ 1106(a)(3), (4) and (7) to investigate the



                                                   1

Case 19-82798-CRJ7        Doc 137     Filed 05/28/20 Entered 05/28/20 16:04:19             Desc Main
                                     Document     Page 1 of 2
 conduct and financial condition of the Debtor. The Trustee is further directed to file a preliminary

 report on or before June 22, 2020 by 12:00 p.m., CDT regarding the results of the investigation.

        3. The Debtor is hereby directed to cooperate with the Trustee’s request for financial

 information and ORDERED to provide the Trustee with a copy of the bank reconciliation and

 accompanying bank statements for the Debtor-in-Possession account for the months of January

 through May 31, 2020 and list of all outstanding accounts receivable, along with the name and

 information for a contact person, on or before June 2, 2020 by 5:00 p.m., CDT.

        4. The deadline for the Trustee and counsel for the Debtor to file fee Applications is fixed

 as June 22, 2020 by 12:00 p.m., CDT.

 Dated this the 28th day of May, 2020.

                                                      /s/ Clifton R. Jessup, Jr.
                                                      Clifton R. Jessup, Jr.
                                                      United States Bankruptcy Judge


 Order Prepared by:
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 Reviewed and Approved by:
 Tazewell T. Shepard
 Richard Blythe
 Richard O’Neal




                                                  2

Case 19-82798-CRJ7        Doc 137    Filed 05/28/20 Entered 05/28/20 16:04:19              Desc Main
                                    Document     Page 2 of 2
